IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

DARRELL MCCLANAHAN and )
APRlL MILLER-MCCLANAHAN, )
)

Plaintiffs, )

)

vs. ) Case No.: 4:16-CV-Ol()86-ODS

)

STATE OF MISSOURI and )
CHIEF MARK LAMPHIER, )
)

Defendants. )

ANSWER OF DEFENDANT LAMPHIER

COMES NOW Defendant Lamphier (hereinafter “Answering Defendant”), by and through
his undersigned counsel of record, and for his AnsWer to Plaintiffs’ “Restated Arnended Petition”
(hereinafter “Complaint”) states and alleges to the Court as folloWs.

l. AnsWering Defendant admits Plaintiff Darrell McClanahan has been charged With
an offense, but denies the balance of the allegations made or contained in the paragraph
denominated as “Count l” of the Complaint.

2. AnsWering Defendant denies the allegations made or contained in the paragraph
denominated as “Count 25’ of the Complaint.

3. AnsWering Defendant denies the allegations made or contained in the paragraph
denominated as “Count 3” of the Complaint.

4. AnsWering Defendant is Without sufficient information or knowledge to admit or
deny Whether Plaintiffs are convicted felons and, therefore, denies same; however, AnsWering
Defendants deny the balance of the allegations made or contained in the paragraph denominated

as “Count 4” of the Complaint.

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5. AnsWering Defendant is without sufficient information or knowledge to admit or
deny the allegations made or contained in the paragraph denominated as “Count 5” of the
Complaint and, therefore, denies same.

6. AnsWering Defendant is without sufficient information or knowledge to admit or
deny the allegations made or contained in the paragraph denominated as “Count 6” of the
Complaint and, therefore, denies same.

7. Answering Defendant denies the allegations made or contained in the paragraph
denominated as “Count 7” of the Complaint.

8. AnsWering Defendant denies the allegations made or contained in the paragraph
denominated as “Count 8” of the Complaint.

9. Answering Defendant is without sufficient information or knowledge to admit or
deny the allegations made or contained in the paragraph denominated as “Count 9” of the
Complaint and, therefore, denies same.

lO. AnsWering Defendant is without sufficient information or knowledge to admit or
deny the allegations made or contained in the paragraph denominated as “Count lO” of the
Complaint and, therefore, denies same,

ll. AnsWering Defendant deny the unnumbered paragraph beginning at the bottom of
page 7 of the Complaint which begins with the words “The Petitioners are making the claim . . . .”

12. AnsWering Defendant denies the prayer for relief appearing on page 8 of the
Complaint.

l3. AnsWering Defendant denies each and every other allegation, matter and averment

made or contained in the Complaint not specifically and previously admitted herein.

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l4. Plaintiffs’ Complaint fails to state facts sufficient to constitute a cause of action
against AnsWering Defendant and fails to state a claim upon which relief may be granted against
him so that the same should be dismissed at Plaintiffs’ costs.

15. F or other affirmative answer and defense, Answering Defendant alleges that any
and all actions or acts committed by him or on his behalf were discretionary in nature and taken in
good faith, and that this Defendant is protected from liability by the doctrines of qualified
immunity, official immunity, absolute immunity and/or judicial immunity.

l6. F or other affirmative answer and defense, AnsWering Defendant alleges he acted
with objective reasonableness under the circumstances then existing, and his conduct was justified
and/or privileged

l7. F or other affirmative answer and defense, AnsWering Defendant alleges that
Plaintiffs’ damages, if any, were proximately caused by their own negligence and/or acts and/or
the negligence and acts of others who are beyond the control of AnsWering Defendant, and whose
fault should be compared

18. For other affirmative answer and defense, Answering Defendant states that to the
extent, if any, that Plaintiffs’ Complaint attempts to state any cause of action under Missouri state
law, AnsWering Defendant is protected f`rom liability by Missouri's public duty doctrine and/or
Missouri's official immunity doctrine and/or sovereign immunity by virtue of R.S.Mo. § 537.600,
el seq.

l9. F or other affirmative answer and defense, AnsWering Defendant states that to the
extent Plaintiffs’ Complaint attempts to seek or obtain injunctive or equitable relief, such relief is

not available on the grounds that Plaintiffs lack standing, fail to present a justiciable claim and/or

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have failed to satisfy the "case or controversy" jurisdictional requirement of the United States
Constitution.

20. For other affirmative answer and defense, Answering Defendant states that
Plaintiffs are not entitled to any punitive damage award against him for any one or more of the
following reasons:

(a) The standards by which AnsWering Defendant’s conduct is to be determined
as alleged by Plaintiffs are vague and wholly arbitrary and, as such, deny due process in
violation of the Fifth and Fourteenth Amendments of the United States Constitution;

(b) The standards for determining the amount and/or subsequent imposition of
punitive damages are vague, supply no notice to AnsWering Defendant of the potential
repercussions of his alleged conduct and are subject to the unbridled discretion of the fact
finder, thereby denying due process under the Fifth and Fourteenth Amendment of the
United States Constitution;

(c) Plaintiffs’ request for punitive damages is criminal in nature and the rights
given defendants in criminal proceedings under the Fifth, Sixth, Eighth, and Fourteenth
Amendments of the United States Constitution are applicable;

(d) Plaintiffs’ request for punitive damages constitutes a request for and/or
imposition of excessive fines in violation of the Eighth Amendment of the United States
Constitution;

(e) Plaintiffs’ request for punitive damages constitutes cruel and unusual
punishment in violation of the Eighth Amendment of the United States Constitution;

(f) Plaintiffs’ request for punitive damages constitutes a denial of equal

protection of the law in violation of the Fifth and Fourteenth Amendments of the United

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States Constitution in that a defendant's wealth or net worth may be considered by a fact
finder in determining the award of damages in a punitive damages award;

(g) Plaintiffs’ request for punitive damages cannot protect Answering
Defendants against multiple punishments for the same alleged wrong, thereby denying due
process under the Fifth and Fouiteenth Amendments of the United States Constitution;

(h) An award of punitive damages would violate Answering Defendant’s due
process under the United States Constitution as well as in violation of the United States
Supreme Court's decision in Pacz'jic Mutual Insurance C0. v. Haslip;

(i) To the extent Answering Defendant is being sued in his representative
and/or official capacity, Plaintiffs are not entitled to any punitive damage award against
him, and because punitive damages may not be awarded against a governmental entity in
a claim under 42 U.S.C. § 1983 pursuant to the United States Supreme Court's opinion in
Cily of Newport v. Facl‘ Concerts, Inc.;

(j) To the extent Answering Defendant is being sued for toit claims under state
law, punitive damages against governmental entities are prohibited and/or barred by
R.S.Mo. § 537.610.

21 . For other affirmative answer and defense, AnsWering Defendant states that any and

all action or acts committed by him or on his behalf were discretionary in nature, were objectively

reasonable under the circumstances then existing and were not in violation of clearly established

law and, therefore, AnsWering Defendant is protected from liability by the doctrine of qualified

immunity.

22. For other affirmative answer and defense, AnsWering Defendant states the conduct,

decisions, actions and/or inaction attributed to him by Plaintiffs in the Complaint involved

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discretionary activity and/or conduct and, accordingly, AnsWering Defendant is shielded from
liability by operation of Missouri’s official immunity doctrine.

23. For other affirmative answer and defense, Answering Defendant states the alleged
conduct, decisions, action and/or inaction attributed to him involved duties owed to the public at
large and, accordingly, AnsWering Defendant is shielded from liability by virtue of Missouri’s
public duty doctrine.

24. AnsWering Defendant reserves the right to assert and plead additional affirmative
defenses when facts supporting said affirmative defenses become known and available to him.

WHEREFORE, based upon the above and foregoing, AnsWering Defendant respectfully
prays to be henceforth dismissed, awarded his costs and expenses herein incurred and expended,
together with such other and further relief as this Court deems just and appropriatel

DEMAND FOR JURY TRIAL
AnsWering Defendant demands a trial by jury on all issues and claims.
Respectfully submitted,

FlSHER, PATTERSON, SAYLER & SMITH, LLP

/s/ David S. Baker
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CERTIFICATE OF SERVICE

I hereby certify that on October 14, 2016, l electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, and deposited a true and correct copy of the above and
foregoing in the United States Mail, postage prepaid, addressed as follows:

Darrell L. McClanahan, Ill
2413 Franklin Avenue
Lexington, MO 64067

April Mary Miller-McClanahan
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Pro Se Plainti]j%
/s/ David S. Baker
DAVID S. BAKER
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